    Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 1 of 20




                                          EXHIBIT A

       As stated in Defendant HomeGoods, Inc.’s Notice of Removal, Defendant attaches

certified copies of the following documents:

       1.     Plaintiff’s Original Petition, filed April 7, 2021;

       2.     Request for Process, filed April 8, 2021;

       3.     Citation to HomeGoods, Inc., filed April 8, 2021;

       4.     Defendant, HomeGoods, Inc.’s Original Answer, filed April 28, 2021; and

       5.     Copy Request, filed April 29, 2021.
                                                                                                               Filed
     Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 2 of 20                     4/7/2021 10:02 PM
                                                                                          Beverley McGrew Walker
                                                                                                      District Clerk
                                                                                          Fort Bend County, Texas
                                                                                             Donald Evans

                                               21-DCV-282329
                               CAUSE NO. ____________
TONI BEEMAN                                   §            IN THE DISTRICT COURT OF
                                              §
                                              §
                                              §
V.                                                        FORT BEND COUNTY, TEXAS
                                              §
                                              §
HOMEGOODS, INC., JOHN DOE                     §     Fort Bend County - 458th Judicial District Court
#1, AND JOHN DOE #2                           §      ____2_ ______JUDICIAL DISTRICT

                         PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff, TONI BEEMAN, files her ORIGINAL PETITION, and would show

the Court the following:

                                               I.

                          DISCOVERY LEVEL—II
                  AND RULE 194 REQUESTS FOR DISCLOSURE

       Discovery and development of this case should occur pursuant to Rule 190.3,

TEXAS RULES OF CIVIL PROCEDURE, commonly referred to as Level 2, as may be

modified from time to time by agreement of counsel.

       Pursuant to the TEXAS RULES OF CIVIL PROCEDURE, Defendants must disclose the

information and documents listed in Rule 194.2(b)(1) - (12).

       This mandatory discovery must be produced no later than thirty (30) days after the

first answer or appearance is filed.




                               BEEMAN/PLEADINGS/PETITION ORIGINAL
                                            PAGE 1
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       Pursuant to TEXAS RULE OF CIVIL PROCEDURE Rule 99(c) you are advised:

       “You have been sued. You may employ an attorney. If you or your attorney do not

file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday

next following the expiration of twenty (20) days after you were served the citation and

petition, a default judgment may be taken against you. In addition to filing a written

answer with the clerk, you may be required to make initial disclosures to the other parties

of this suit. These disclosures generally must be made no later than thirty (30) days after

you file your answer with the clerk. Find out more at www.TexasLawHelp.org.”

                                             II.

                                        PARTIES

       Plaintiff, TONI BEEMAN, is a resident of Sugar Land, Fort Bend County, Texas.

       Defendant, HOMEGOODS, INC. (“HOMEGOODS”), is a foreign corporation,

and may be served through its registered agent, CT Corporation System, at 1999 Bryan

St., Ste. 900, Dallas, Texas 75201-3136.

       Defendant, JOHN DOE #1, at all relevant times was an employee of

HOMEGOODS. Plaintiff has no personal information regarding this Defendants at this

time but upon information and belief is a resident of the State of Texas. Plaintiff will

learn the identity and location of Defendant JOHN DOE #1 through discovery.

       Defendant, JOHN DOE #2, at all relevant times was an employee an employee of

HOMEGOODS. Plaintiff has no personal information regarding this Defendant at this

time but upon information and belief is a resident of the State of Texas. Plaintiff expects

to learn the identity and location of Defendant JOHN DOE #2 through discovery.

                              BEEMAN/PLEADINGS/PETITION ORIGINAL
                                           PAGE 2
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                                            III.

                                         FACTS

      On or about August 12, 2019, TONI BEEMAN purchased a marble-top table

(“TABLE”) from HOMEGOODS’ storefront located at Market @ Town Center, 2545

Town Ctr. North Blvd., Sugar Land, Fort Bend County, Texas 77479.

      TONI BEEMAN transported the pre-assembled TABLE to the front of the store

at which time she completed the purchase.

      JOHN DOEs #1 and #2, employees of HOMEGOODS, loaded the table face-

down into TONI BEEMAN’s vehicle.

TONI BEEMAN arrived home with her new TABLE. When she unloaded the TABLE

the marble top separated from the wooden base and landed on her left foot.

      TONI BEEMAN’s toes were crushed.




                         DEFECTIVE TABLE (POST-FAILURE)


                             BEEMAN/PLEADINGS/PETITION ORIGINAL
                                          PAGE 3
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                        TONI BEEMAN’S INJURIES




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                                              IV.

  STRICT PRODUCT LIABILITY—DESIGN, MANUFACTURING, WARNING

       The TABLE was defective and unsafe inasmuch as it was in a defective condition

and unreasonably dangerous as designed, manufactured, and marketed.

       HOMEGOODS is liable and accountable pursuant to the doctrine of Strict

Liability pursuant to §402A of the RESTATEMENT (SECOND) OF TORTS, which is the

substantive law in the State of Texas.

       The DESIGN, MANUFACTURING and MARKETING DEFECTS constituted

a producing cause of the occurrence in question and/or injuries and damages suffered by

TONI BEEMAN.

       Design Defect. Pleading further, but not by way of limitation, the TABLE was

DEFECTIVELY DESIGNED in one or more of the following particulars, and others:

        Deficient and Defective top-to-base ASSEMBLY SYSTEM.

       The foregoing constituted a DESIGN DEFECT, which rendered the TABLE

unreasonably dangerous as designed, taking into consideration the utility of the product

and the risk involved in its use.

       The DEFECTIVE DESIGN constituted a producing cause of the event and/or

injuries and damages suffered by TONI BEEMAN.

       Manufacturing Defect. Pleading further, but not by way of limitation, the

TABLE was DEFECTIVELY MANUFACTURED in one or more of the following

particulars:

        Deficient and Defective top-to-base assembly of TABLE.
                               BEEMAN/PLEADINGS/PETITION ORIGINAL
                                            PAGE 5
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      The foregoing constituted a MANUFACTURING DEFECT, which rendered the

TABLE unreasonably dangerous as marketed.

      The DEFECTIVE MANUFACTURING constituted a producing cause of the

event and/or injuries and damages suffered by TONI BEEMAN.

      Marketing Defect. Pleading further, but not by way of limitation, the TABLE

was DEFECTIVELY MARKETED in one or more of the following particulars:

       Inadequate WARNINGS and/or INSTRUCTIONS for the assembly of
        TABLE.

       Lack of WARNINGS and/or INSTRUCTIONS provided to Plaintiff upon
        purchase of TABLE.

      Each of the foregoing, individually or collectively, constituted a MARKETING

DEFECT, which rendered the TABLE unreasonably dangerous as marketed.

      The DEFECTIVE MARKETING constituted a producing cause of the event

and/or injuries and damages suffered by TONI BEEMAN.

                                           V.

  NEGLIGENT PRODUCT DESIGN, MANUFACTURING AND MARKETING

      HOMEGOODS and/or JOHN DOE #1 and/or JOHN DOE #2 were negligent in

the design, manufacturing, and marketing of the TABLE, which negligence was a

proximate cause of the occurrence in question and/or injuries and damages suffered by

TONI BEEMAN.




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                                         PAGE 6
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                                            VI.

       NEGLIGENT ASSEMBLY, INSPECTION, LOADING, WARNINGS,

      HOMEGOODS and/or JOHN DOE #1 and/or JOHN DOE #2 were negligent in

the assembly, inspection, loading, and warnings relative to the TABLE, which

negligence was a proximate cause of the occurrence in question and/or injuries and

damages suffered by TONI BEEMAN.

                                           VII.

                                ACTUAL DAMAGES

      TONI BEEMAN seeks compensation for all elements of damage allowed

pursuant to Texas law, including but not limited to the reasonable value of medical care,

both past and future (as may be adjusted pursuant to Texas law); physical pain and

mental anguish, both past and future; physical disfigurement, both past and future; and

physical impairment, both past and future.

      Actual damages are within the jurisdictional limits of this Court.

      Pursuant to Rule 47(c) TONI BEEMAN seeks monetary relief in excess of

$250,000 but not more than $1,000,000.

                                          VIII.

                                   JURY DEMAND

      TONI BEEMAN respectfully demands a jury.

                                            IX.

              PRE-JUDGMENT AND POST JUDGMENT INTEREST

      TONI BEEMAN seeks pre- and post-judgment interest as allowed by law.

                             BEEMAN/PLEADINGS/PETITION ORIGINAL
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       WHEREFORE,          PREMISES         CONSIDERED,             TONI      BEEMAN             prays

HOMEGOODS, INC., JOHN DOE #1 and JOHN DOE #2 be Cited and required to

Answer and appear herein, and that upon a trial of the merits, Judgment for actual

damages, pre-judgment and post-judgment interest, and taxable costs be entered in favor

of TONI BEEMAN against Defendants, jointly and severally.

       TONI BEEMAN further prays for any and all further relief, both general and

special, at law or in equity, to which she may show herself justly entitled.

                                                   Respectfully submitted,

                                                   T HE W EST L AW F I RM




                                                   S. SCOTT WEST
                                                   SBN: 21206920
                                                   MADDISON M. WEST
                                                   SBN: 24104633
                                                   ROBERT C. GOODWILL, JR.
                                                   SBN: 24096785
                                                   6908 BRISBANE COURT
                                                   THIRD FLOOR
                                                   SUGAR LAND, TEXAS 77479
                                                   TEL: (281) 277-1500
                                                   FAX: (281) 277-1505
                                                   WestTeam@westfirm.com

                                                   A TTORNEYS FOR P LAINTIFF




                                                                    I, Beverley McGrew Walker, District Clerk of Fort
                                                                    Bend County, Texas, do hereby certify that the
                                                                    foregoing is a true, correct and full copy of the
                                                                    Instrument herein set out an appears of record in
                                                                    The District Court of Fort Bend County, Texas.
                               BEEMAN/PLEADINGS/PETITION ORIGINAL
                                                                         30
                                                                    This_____day             APRIL               21
                                                                                  of__________________________20___
                                            PAGE 8                            BEVERLEY MCGREW WALKER, DISTRICT CLERK
                                                                                  ASHLEY ALANIZ
                                                                              By___________________________Deputy
                                                                                                                              Filed
              Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 10 of 20                           4/8/2021 2:35 PM

                                    BEVERLEY MCGREW WALKER
                                                                                                         Beverley McGrew Walker
                                                                                                                     District Clerk
                                                                                                         Fort Bend County, Texas
                                    Fort Bend County District Clerk                                        Justyce Turner

                                    301 Jackson Street, Room 101
                                         Richmond, TX 77469                                 Telephone: (281) 341-4509
                                                                                                  Fax: (281) 341-4519


                                       REQUEST FOR PROCESS
                        All sections must be completed for processing this request.
Section 1:
Cause No. 21-DCV-282329
STYLE: Toni Beeman                                          VS       HomeGoods, Inc.

Section 2:
Check Process Type:
x Citation                                                        Precept to Serve / Notice of Hearing
    Citation by Posting                                           Citation by Commissioner of Insurance
    Temporary Restraining Order                                   Notice of Registration of Foreign Judgment
    Citation by Secretary of State                                Writ of
    Application for Protective Order / Temporary (Ex Parte) Protective Order
    Citation by Publication*:
             Daily: Fort Bend Herald        Once a Week: Fort Bend Independent
             Other:
    * In Accordance with the Fort Bend County Term Contract for Newspaper Publication of Legal Notices
    Other
    TCPRC 17.032 Citation by Publication (Citation will be posted by the District Clerk’s Office on the Office of Court
    Administration website)
                 REQUEST FOR ISSUANCE OF SUBPOENA MUST BE SUBMITTED ON A
                                SUBPOENA APPLICATION FORM
Section 3:
Title of Document/Pleading to be attached for service:
    Plaintiff's Original Petition



Section 4:   PARTIES TO BE SERVED (Please type or print):
1. Name:         HomeGoods,Inc. c/o CT Corporation System
                    1999 Bryan Street, Suite 900
    Address:
    City: Dallas                                       State:        Texas                     Zip: 75201-3136




                                                         1 of 2
                Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 11 of 20
 2. Name:
      Address:
      City:                                                 State:                                      Zip:
 3. Name:
      Address:
      City:                                                 State:                                      Zip:
 4. Name:
      Address:
      City:                                                 State:                                      Zip:
Section 5

 Check Service Type – Additional Fees Apply:
     Fort Bend County – Constable*                                     District Clerk Service**
            Fort Bend County – Sheriff*                                Certified Mail
            Registered Mail (Out of Country)                x          Not Applicable – See Section 7
 * Fort Bend County Constable and Sheriff will only serve within their jurisdiction.
 ** Fort Bend County District Clerk’s Office will only conduct service on Citation by Publications posted on the Office of Court
 Administration website.
 Section 6 (ONLY if Section 7 does not apply)
 Please Note: Our office will use the e-Service email address registered with the Texas State Bar.

 Attorney Name:                   S. Scott West

 Address:            6908 Brisbane Court, Third Floor
                                                            Street/P.O. Box
                    Sugar Land                                           Texas                            77479
                                        City                                    State                                Zip

 Telephone No. 281.277.1500                        Bar No.                    21206920

 Section 7 (ONLY if Section 6 does not apply)

 Pro-Se Name:
 Address:
                                                            Street/P.O. Box


                                        City                                    State                                Zip

 Telephone No.                                     Email Address
                                                                                         I, Beverley McGrew Walker, District Clerk of Fort
 Pro-se Service Only:                                                                    Bend County, Texas, do hereby certify that the
                                                                                         foregoing is a true, correct and full copy of the
  x    e-Service*                                 Mail to Pro-se Party*                                Hold
                                                                                         Instrument herein      foranPick
                                                                                                            set out    appearsup
                                                                                                                               of record in
*Service will be mailed/emailed directly to pro-se party requesting issuance.            The District Court of Fort Bend County, Texas.
                                                                                              30
                                                                                         This_____day            APRIL                 21
                                                                                                       of__________________________20___

                                                                                                   BEVERLEY MCGREW WALKER, DISTRICT CLERK

                                                              2 of 2
                                                                                                       ASHLEY ALANIZ
                                                                                                   By___________________________Deputy
          Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 12 of 20


                                             THE STATE OF TEXAS

                                                      CITATION

TO:    HOMEGOODS, INC.
       REGISTERED AGENT CT CORPORATION SYSTEM
       1999 BRYAN ST STE 900
       DALLAS TX 75201-3136

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty days after you were
served this citation and PLAINTIFF'S ORIGINAL PETITION filed on April 07, 2021, a default judgment may be
taken against you. In addition to filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after
you file your answer with the clerk. Find out more at TexasLawHelp.org.

The case is presently pending before the 458TH JUDICIAL DISTRICT COURT of Fort Bend County sitting in
Richmond, Texas. It bears cause number 21-DCV-282329 and is styled:

TONI BEEMAN VS HOMEGOODS, INC., JOHN DOE #1, AND JOHN DOE #2

The name and address of the attorney for PLAINTIFF(S) is:

S SCOTT WEST
THE WEST LAW FIRM
6908 BRISBANE COURT THIRD FLOOR
SUGAR LAND TX 77479
(281) 277-1500

The nature of the demands of said PLAINTIFF(S) is shown by a true and correct copy of the PLAINTIFF'S
ORIGINAL PETITION accompanying this citation and made a part hereof.

If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court, at
Richmond, Texas, on this the 8th day of April, 2021.

                                                DISTRICT CLERK BEVERLEY MCGREW WALKER
                                                FORT BEND COUNTY, TEXAS
                                                Physical Address:
                                                1422 Eugene Heimann Circle, Room 31004
                                                Richmond, Texas 77469
                                                Mailing Address:
                                                301 Jackson Street, Room 101
                                                Richmond, Texas 77469

                                                By:
                                                      Deputy District Clerk JUSTYCE TURNER
                                                      Telephone: (281) 344-3919
            Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 13 of 20


21-DCV-282329                                  458th Judicial District Court
Toni Beeman vs Homegoods, Inc., John Doe #1, and John Doe #2

                                        OFFICER’S OR AUTHORIZED PERSON’S RETURN

Came to hand on the                        day of                                                  , 20     , at      o’clock ___M. Executed
at                                                                                        , within the County of
                                          , at        o’clock ___M. on the                          day of                                          ,
20    , by delivering to the within named
          , in person, a true copy of this citation together with the accompanying copy of the petition, having first
attached such copy of such petition to such copy of citation and endorsed on such copy of citation the date of
delivery.

Total fee for serving           citation at $80.00 each $


                                                                       Name of Officer or Authorized Person

                                                                                                                      County, Texas
                                                                   By:
                                                                          Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The signature is
not required to be verified. If the return is signed by a person other than a sheriff, constable, or the clerk of the court, the return shall be signed
under penalty of perjury and contain the following statement:

“My name is                                                                                                                                         ,
                                           (First, Middle, Last)

my date of birth is                                  , and my address is
                                                                                              (Street, City, Zip)

                                                                                                                                          .”

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                                                            County, State of                                        , on the

day of                                                             .



                                                                               Declarant / Authorized Process Server



                                                                               (Id # & expiration of certification)




                                                                          ORIGINAL
Citation issued to Homegoods, Inc. on 4/8/2021.
          Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 14 of 20


                                             THE STATE OF TEXAS

                                                      CITATION

TO:    HOMEGOODS, INC.
       REGISTERED AGENT CT CORPORATION SYSTEM
       1999 BRYAN ST STE 900
       DALLAS TX 75201-3136

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty days after you were
served this citation and PLAINTIFF'S ORIGINAL PETITION filed on April 07, 2021, a default judgment may be
taken against you. In addition to filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after
you file your answer with the clerk. Find out more at TexasLawHelp.org.

The case is presently pending before the 458TH JUDICIAL DISTRICT COURT of Fort Bend County sitting in
Richmond, Texas. It bears cause number 21-DCV-282329 and is styled:

TONI BEEMAN VS HOMEGOODS, INC., JOHN DOE #1, AND JOHN DOE #2

The name and address of the attorney for PLAINTIFF(S) is:

S SCOTT WEST
THE WEST LAW FIRM
6908 BRISBANE COURT THIRD FLOOR
SUGAR LAND TX 77479
(281) 277-1500

The nature of the demands of said PLAINTIFF(S) is shown by a true and correct copy of the PLAINTIFF'S
ORIGINAL PETITION accompanying this citation and made a part hereof.

If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court, at
Richmond, Texas, on this the 8th day of April, 2021.

                                                DISTRICT CLERK BEVERLEY MCGREW WALKER
                                                FORT BEND COUNTY, TEXAS
                                                Physical Address:
                                                1422 Eugene Heimann Circle, Room 31004
                                                Richmond, Texas 77469
                                                Mailing Address:
                                                301 Jackson Street, Room 101
                                                Richmond, Texas 77469

                                                By:
                                                      Deputy District Clerk JUSTYCE TURNER
                                                      Telephone: (281) 344-3919




                                                      SERVICE
            Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 15 of 20


21-DCV-282329                                  458th Judicial District Court
Toni Beeman vs Homegoods, Inc., John Doe #1, and John Doe #2

                                        OFFICER’S OR AUTHORIZED PERSON’S RETURN

Came to hand on the                        day of                                                 , 20     , at          o’clock ___M. Executed
at                                                                                       , within the County of
                                          , at       o’clock ___M. on the                          day of                                              ,
20    , by delivering to the within named
          , in person, a true copy of this citation together with the accompanying copy of the petition, having first
attached such copy of such petition to such copy of citation and endorsed on such copy of citation the date of
delivery.

Total fee for serving           citation at $80.00 each $


                                                                      Name of Officer or Authorized Person

                                                                                                                         County, Texas
                                                                  By:
                                                                         Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The signature is
not required to be verified. If the return is signed by a person other than a sheriff, constable, or the clerk of the court, the return shall be signed
under penalty of perjury and contain the following statement:

“My name is                                                                                                                                            ,
                                          (First, Middle, Last)

my date of birth is                                  , and my address is
                                                                                             (Street, City, Zip)

                                                                                                                                              .”

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                                                           County, State of                                             , on the

day of                                                            .



                                                                              Declarant / Authorized Process Server



                                                                              (Id # & expiration of certification)




                                                                                                     I, Beverley McGrew Walker, District Clerk of Fort
                                                                                                     Bend County, Texas, do hereby certify that the
                                                                                                     foregoing is a true, correct and full copy of the
                                                                                                     Instrument herein set out an appears of record in
                                                                         SERVICE                     The District Court of Fort Bend County, Texas.
                                                                                                     This_____day
                                                                                                           30      of__________________________20___
                                                                                                                             APRIL                21
Citation issued to Homegoods, Inc. on 4/8/2021.
                                                                                                                   BEVERLEY MCGREW WALKER, DISTRICT CLERK
                                                                                                                   By___________________________Deputy
                                                                                                                       ASHLEY ALANIZ
                                                                                                                       Filed
      Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 16 of 20                           4/28/2021 3:12 PM
                                                                                                  Beverley McGrew Walker
                                                                                                              District Clerk
                                                                                                  Fort Bend County, Texas
                                                                                                     Ashley Alaniz

                                   CAUSE NO. 21-DCV-282329

TONI BEEMAN                                        §               IN THE DISTRICT COURT OF
                                                   §
VS.                                                §              FORT BEND COUNTY, TEXAS
                                                   §
HOMEGOODS, INC.,                                   §
JOHN DOE #1, AND JOHN DOE #2                       §                  458TH JUDICIAL DISTRICT

                 ORIGINAL ANSWER OF DEFENDANT HOMEGOODS, INC.

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, HOMEGOODS, INC., Defendant in the above-entitled and numbered

cause, and in answer to Plaintiff’s Original Petition, would respectfully show unto the Court as

follows:

                                              I.
                                        GENERAL DENIAL

        Defendant denies each and every, singular and all, the allegations contained in Plaintiff’s

Petition, says that the allegations therein are not true, either in whole or in part, and demands strict

proof thereof.

                                            II.
                                   AFFIRMATIVE DEFENSES

        1.       Defendant seek the jury submission of Plaintiff’s comparative responsibility

pursuant to Chapters 32 and 33 of the Texas Civil Practice & Remedies Code.

        2.       Plaintiff’s damages, if any, are limited to only those damages actually paid on

behalf of Plaintiff pursuant to § 41.0105 of the Tex. Civ. Prac. & Rem. Code.

        3.       Pleading further, alternatively, and by way of affirmative defense, Defendant would

show, in the unlikely event that any liability is found on the part of the Defendant, that such liability

be reduced by the percentage of the causation found to have resulted from the acts or omissions of

any other third parties.

                                                   1
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        4.      Pleading further, alternatively, and by way of affirmative defense, Defendant would

state that in the unlikely event that an adverse judgment would be rendered against it, Defendant

would respectfully request all available credits and/or offsets as provided by the Texas Civil

Practice and Remedies Code and under Texas law.

        5.      Pleading further, and in the alternative, if such is necessary, and subject to the

foregoing pleas and without waiving same, this action is subject to the proportionate responsibility

provisions of Chapter 33 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE, including

(without limitation) the requirement of § 33.003, thereof that the trier of fact determine the relative

responsibility of the Plaintiff, and responsible third parties.

        6.      Pleading further, alternatively, and by way of affirmative defense, Defendant would

show that any claims for medical or health care expenses must be limited to the amounts actually

paid or incurred by or on behalf of Plaintiff pursuant to TEX. CIV. PRAC. & REM. CODE §

41.0105.

        7.      Pleading further, alternatively, and by way of affirmative defense, Defendant would

show that, pursuant to Section 18.091 of the TEX. CIV. PRAC. & REM. CODE, to the extent that

Plaintiff is seeking recovery for loss of earnings, lost wages, loss of earning capacity, and/or loss

of contributions of pecuniary value, evidence of this alleged loss must be presented by Plaintiff in

the form of a net loss after reduction for income tax payments, or unpaid tax liability to any federal

income tax law.

        8.      Pleading further, alternatively, and by way of affirmative defense, Defendant

invokes limitations on interest, both prejudgment and post-judgment, contained in Chapter 304 of

the TEX. FIN. CODE. Prejudgment interest on alleged future damages, if any, may not be assessed

or recovered.



                                                   2
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        9.      Pleading further, alternatively, and by way of affirmative defense, Defendant has

no actual or constructive notice of any premise defect or other unreasonably dangerous condition

in connection with the alleged incident.

        10.     Defendant further pleads that pursuant to Chapter 82, TEX. CIV. PRAC. & REM.

CODE, Defendant is a nonmanufacturing seller and avails itself of the provisions of that statute as

it applies to the facts of this incident.

                                                 III.
                                            JURY DEMAND

        11.     Defendant respectfully demands a jury for the trial of this matter, and hereby

tenders the jury fee.

                                            IV.
                                 DIRECTED COMMUNICATION

        12.     Forward all communications regarding this matter to Kevin B. Tompkins at

ktompkins@hartlinebarger.com; Jenni Fann at jfann@hartlinebarger.com, and Catrina Edling at

cedling@hartlinebarger.com. Failure to include all requested individuals referenced above in all

communications, notices, and filings, shall be deemed inadequate service.

        WHEREFORE, PREMISES CONSIDERED, Defendant, HOMEGOODS, INC., prays that

Plaintiff take nothing by reason of this suit, that Defendant be discharged, and that it go hence

with its costs, and for all such other and further relief, both general and special, at law and in

equity, to which Defendant may show itself to be justly entitled.




                                                 3
    Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 19 of 20




                                            Respectfully submitted,

                                            HARTLINE BARGER LLP

                                            /s/ Kevin B. Tompkins
                                            _______________________________________
                                            Kevin B. Tompkins
                                            State Bar No. 20125690
                                            Marshall G. Rosenberg
                                            State Bar No. 12771450
                                            1980 Post Oak Blvd., Suite 1800
                                            Houston, Texas 77056
                                            Telephone: 713-759-1990
                                            Facsimile: 713-652-2419
                                            ktompkins@hartlinebarger.com
                                            mrosenberg@hartlinebarger.com

                                            ATTORNEYS FOR DEFENDANT
                                            HOMEGOODS, INC.


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was served upon
the parties listed below by the method(s) indicated on the 28th day of April, 2021.

       S. Scott West
       The West Law Firm
       6908 Brisbane Court, 3rd Floor
       Sugar Land, Texas 77479
       via electronic service: WestTeam@westfirm.com



                                              /s/ Kevin B. Tompkins
                                              _________________________________
                                              Kevin Tompkins




                                                                  I, Beverley McGrew Walker, District Clerk of Fort
                                                                  Bend County, Texas, do hereby certify that the
                                                                  foregoing is a true, correct and full copy of the
                                                                  Instrument herein set out an appears of record in
                                                                  The District Court of Fort Bend County, Texas.
                                                                       30
                                                                  This_____day          APRIL                  21
                                                                                of__________________________20___
                                               4                            BEVERLEY MCGREW WALKER, DISTRICT CLERK
                                                                                ASHLEY ALANIZ
                                                                            By___________________________Deputy
                                                                                                                         Filed
    Case 4:21-cv-01522 Document 1-1 Filed on 05/07/21 in TXSD Page 20 of 20                               4/29/2021 2:23 PM
                                                                                                    Beverley McGrew Walker
                                                                                                                District Clerk
                                                                                                    Fort Bend County, Texas
                                                                                                         Norma Sosa




                                           April 29, 2021


Ms. Beverley McGrew Walker
Fort Bend County District Clerk
301 Jackson St., Room 101
Richmond, Texas 77469

       Re:     Cause No. 21-DCV-282329; Toni Beeman vs. HomeGoods, Inc., et al; In the
               458th Judicial District Court of Fort Bend County, Texas

Dear Ms. Walker:

     Please obtain certified copies of the following documents, including the docket sheet/case
summary sheet, in the above referenced cause:

       1.      4/7/2021        Plaintiff’s Original Petition (8 pages);
       2.      4/8/2021        Request for Process (2 pages);
       3.      4/8/2021        Citation – HomeGoods, Inc. (4 pages);
       4.      4/28/2021       Original Answer – HomeGoods, Inc. (4 pages); and
       5.                      Court’s Docket Sheet (2 pages).

               Total of 20 pages.

       Please return the certified copies to my legal assistant, Catrina Edling by email at
cedling@hartlinebarger.com.

       If you have any questions, feel free to contact Catrina 713-951-4257.


                                                       Very truly yours,




                                                       Kevin B. Tompkins
KBT/ce
                                                                       I, Beverley McGrew Walker, District Clerk of Fort
                                                                       Bend County, Texas, do hereby certify that the
                                                                       foregoing is a true, correct and full copy of the
                                                                       Instrument herein set out an appears of record in
                                                                       The District Court of Fort Bend County, Texas.
                                                                            30
                                                                       This_____day           APRIL                  21
                                                                                     of__________________________20___

                                                                                 BEVERLEY MCGREW WALKER, DISTRICT CLERK
                                                                                 By___________________________Deputy
                                                                                     ASHLEY ALANIZ


Kevin B. Tompkins | ktompkins@hartlinebarger.com | direct dial: 713-951-4233 | direct fax: 713-652-2419
                Board Certified – Personal Injury Trial Law | Texas Board of Legal Specialization
